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                                                         Barron'
                                                               s

                                                  June 10, 1996 Monday
                                                   Correction Appended

SECTION: Pg.15

LENGTH: 3105words

HEADLINE: Hooked on Drugs:W hy do insurers pay such outrageous Prices for pharmaceuticals?

BYLINE: By Bill Alpert

BODY:

     Jim Fanning saw the plaque in a doctor'  s splendid home:"This is the house that leucovorin built."Leucovorin is
one of the cancer drugs that typifies a basic drug-industry pricing convention that, in Fanning'
                                                                                               s view, is a
multibillion-dollar fraud.Fanning, the pharmacy director of Fort W orth-based ChemoLab, isn'    t alone in criticizing the
published wholesale prices that most insurers, public and private, use in determining how much to pay for
pharmaceuticals.For many drugs, especially the growing number coming off patent and going generic, the drug
providers actually pay wholesale prices that are 60%-90% below the so-called average wholesale price, or AW P, used
in reimbursement claims.

      But Medicare, one of the largest insurers that still reimburses at AW P, is about to demand a change.The huge
federal health-insurance program, trying to forestall insolvency, soon will propose regulations aimed at cutting the
amount it lays out for the nearly $2billion in annual drug claims it covers outside of hospitals.The move --especially if
it is followed by others now paying near AW Pfor drugs --will attackfrom a new direction the pricing practices of a
drug industry already beset by antitrust suits from retail drugstores.It also could upset a large segment of the health-care
industry, which has thrived on the huge spread between the published wholesale prices used in insurance claims and the
far lower wholesale prices actually paid.

     That segment includes oncology practices, respiratory therapy firms and home-infusion companies.It also includes
the drug makers themselves, whose allegedly inflated price lists and the opportunity for profiteering that they afford to
middlemen, gain them market share and encourage overuse of their products.Among the publicly traded companies that
could be affected:Apria Healthcare Group, Lincare Holdings, RoTech Medical, OmniCare, Abbott Laboratories and
Baxter International.
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     Most people don'  t even know that Medicare pays for pharmaceuticals and related products, but through piecemeal
congressional authorizations, the program now covers certain drugs for emphysema, cancer, kidney dialysis and organ
transplantation, often requiring injection.W hile still barely 1% of its nearly $184billion in 1995spending, Medicare'
                                                                                                                     s
outpatient drug bill (not including co-payments)was $1.    8billion last year, double 1992's level.

   Under its current regulations, Medicare provides reimbursement for those drugs at the lesser of either its estimate of
what the drugs cost the doctors or the Average W holesale Price.

    But Medicare'  s attempts to survey doctors for their costs have been stymied by federal paperworkrules, so it
reimburses at the AW P.

     Like most drug buyers focused on average wholesale price, Medicare looks to compendia such as the Red Book,
put out monthly by Medical Economics, of Montvale, N.  J., or the rival Blue Bookpublished by First DataBank, a
Hearst subsidiary in San Bruno, Calif.Only after Medicare' s drug bill started to rocket did policy makers at the
Department of Health and Human Services start closely scrutinizing their AW Ppayments.

    They' ve asked the department'
                                 s inspector general'
                                                    s office to examine how Medicare suppliers'true acquisition costs
square with the program's reimbursement levels.

     Claims for nebulizer drugs, the inhalants used by many asthma and emphysema sufferers, were the first studied by
the auditors.From under $80 million in 1992, Medicare'  s annual bill for inhalation drugs grew to $250 million last year,
most of it for a steroid called albuterol sulfate.

     In a report released Thursday, the inspector general'
                                                         s office stated that the medical-equipment firms that Medicare
reimburses at an average wholesale price-derived 40-43cents per milliliter actually paid less than half that, on average:
just 19 cents.

    The report asserted that Medicare could have saved about $94million if its reimbursements had been based on
actual wholesale prices over the 14months covered by the study.

      Another report by the inspector general produced a similar finding for feeding-tube liquids, like the market-leading
Ensure products of Abbott Labs.These, the IG found, cost nursing homes 42% less than the price that Medicare bases
its reimbursements on.Such products cost Medicare and its beneficiaries several hundred million dollars a year.

    The inspector general currently is looking at prices for big-ticket drugs and intravenous liquids, too.Barron's has
done the same, in an examination of the top 20 Medicare drugs (which account for about 75% of the program'     s drug
spending), as well as for various intravenous solutions.Our study shows that for many drugs coming off-patent, the
average wholesale prices in no way represents the true wholesale price.

     For about 300 dose forms of the drugs, Barron'   s got the AW Ps from the Red Bookand the Blue Book.Then, we
collected current quotes or price lists from several leading wholesaler specializing in salesto doctors, home health firms,
nursing homes and hospitals.

    These wholesalers included:The Oncology Therapeutics Network, a South San Francisco-based joint venture of
Bristol-Myers Squibband Axion;Florida Infusion Services of Palm Harbor, Fla. ;National Specialty Services, of
Nashville;and UltraCare, of Overland Park, Kan.Prices also came in from the Boulder, Colo.
                                                                                         , hospital buying group
Vista Purchasing Partners.

   This sampling showed that for single-source drugs still enjoying patent protection, such as Bristol-Myers Squibb'
                                                                                                                   s
Taxol or Platinol, true wholesale prices are generally 10%-20% below published AW Ps.

    But for generic drugs, nearly every manufacturer'
                                                    s price was 60%-85% below the published average wholesale
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price.Some of the generics account for significant spending by Medicare, claiming half of the top 20 slots.Two of
them, albuterol and leucovorin, are in the No.2and No.5slots, respectively.

   Pricing is even more unreal worse for intravenous nutritionals and solutions, a category dominated by Abbott
Laboratories and Baxter International.Catalog wholesale prices for these items are, on average, 80%-93% below those
companies'AW Ps.

    The prices from the different wholesalers were closely bunched."There are really no special deals out there,"
contends Fanning, who buys plenty of drugs at wholesale himself.

    If most health-care providers can get these prices, is it any wonder an industry wag says that AW Preally means
"Ain't W hat'
            s Paid"?

    The high prices on generic drugs have led investigators to seekthe source of the published AW Ps.Backin 1992,
major drug manufacturers told the inspector general'
                                                   s office that the Red Book, not the manufacturers, determined the
AW P.But Red Bookofficials blamed the manufacturers.

    The answers are the same today.

   Phil Southerd, associate product manager of the Red Book, says it publishes prices that are faxed right from the
manufacturers."They' re not our prices,"he insists.

    Ed Edelstein, Blue Bookeditor, says that, while some brand-name firms don' t give him prices, generic firms do.
"The AW Pis the manufacturer'
                            s suggested wholesale price,"he says."It' s our editorial policy to go along with that.
                                                                                                                  "

    But Immunex, with a thriving generic cancer-drug business, says its average wholesale prices aren'
                                                                                                     t its own."The
drug manufacturers have no control over the AW Ps published ...,"says spokeswoman Valerie Dowell.

   A maker of generic inhalants gives a different answer, but off the record:"The AW Ps typically originate with the
manufacturer.
            "

    More puzzling is the way generic AW Ps stay at their lofty perches, or even rise, as competition forces a drug'
                                                                                                                  s true
wholesale price into the abyss."The reason this is happening,"suggests Michael Neff, pharmacy program administrator
of Medi-Cal, California' s Medicaid agency, "is that most folks in a position to pay --even state Medicaid programs and
HMOs --generally use AW Pas a benchmarkfor reimbursement.         "

     In 1993, the Bristol-Myers Squibbcancer drug Vepesid came off-patent, opening the market for a generic form
called etoposide.A 100-milligram dose of Vepesid had an AW Pof about $136.The first generic etoposide was Gensia
Pharmaceutical' s, with a market price of about $75, but the AW Pof $142.

    The second generic to market, from Pharmacia, pushed the market price to $60, but Pharmacia set an AW Paround
$140.Today, the market price for 100 milligrams of etoposide is around $35, but Gensia actually raised its AW Plast
year by about 10%.

   W hen some drug salespeople visit a doctor, says another Medicaid administrator, the salesperson lets the doctor
know that his product has a bigger spread between AW Pand the real price than any other generic firm.

    If manufacturers deliberately maintain lofty AW Ps on their generic drugs, it directly profits their customers, not
them.Of course, the drug makers might then gain market share and higher sales from their customers'over-utilization.

     Indeed, for makers of generics, unreal average wholesale prices pose a classic social dilemma.If some, but not all,
rectify their AW Ps, the honest makers cut their own throats."`Manufacturers have told me that if they act on their own
they'll dry up their own business,"says MediCal'  s Neff."If I'
                                                              m a buyer and one drug gives me 20% higher
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reimbursement, who am Igoing to go with?"

     Some insurers, including Medicare, decree maximum prices for each generic drug, to avoid the alleged
manipulation of AW Ps.But it takes a year or so to establish a maximum price for new generics, and insurers haven'
                                                                                                                 t
gotten around to setting prices for many doses.

     "There definitely is over-utilization of these products,"acknowledges a maker of inhalation drugs."Because HCFA
[the Health Care Financing Administration, the federal Medicare-Medicaid agency]is paying a somewhat arbitrary
price, this has been discussed for almost three years.It's not rocket science;what'
                                                                                  s taken them so long?"

    Some of the inspector general'  s investigators believe they've been played for fools."W e trusted the industry and the
providers,"says one investigator, off the record."W e didn'  t know how pervasive the discounting was.W e thought it
was available to just select providers."

    Now, the Justice Department is serving "civil investigative demands"--a kind of subpoena in antitrust
investigations --on manufacturers, asking them how those inaccurate AW Ps wind up in the Red Bookand Blue Book.

     Baxter has received one, according to investigators, for its intravenous solutions, whose true wholesale prices --
like those of rival Abbott --seem to be 90% below the average wholesale price.Baxter wouldn'      t comment to Barron' s.

    "The drug makers created false statements so that the doctors could make hundreds of millions of dollars,"
maintains an angry investigator."If OIG doesn't get them, the Justice Department will.
                                                                                     "

    Some investigators view the spreads guaranteed by extreme average wholesale prices as a kind of kickbackto
doctors, in violation of federal laws.

    One group of infusion-industry veterans is reportedly considering attacking the problem by filing a private suit
under the False Claims Act.This is the whistle-blower law that allows citizens with knowledge of fraud against the
government to sue on behalf of the government and share in the recovery.

   Meanwhile, the cooler-headed policymakers at the inspector general'
                                                                     s office and in HCFA are reconsidering
Medicare'
        s drug reimbursement rules.They plan to propose their changes in the Federal Register soon.

    "Medicare's been paying too much for our drugs,"says deputy inspector general George Grob."W e'
                                                                                                  re paying the
window-sticker price when everybody else wants a discount and is getting it.
                                                                           "

    Tom Alt, of HCFA'   s Bureau of Policy Development, notes that any savings for Medicare will mean savings for
beneficiaries, who are kicking in 20% co-payments at current Medicare prices.

    Any reduction in reimbursement levels probably would have some effect on the firms that enjoy the spreads
between everyday low wholesale prices and the average wholesale prices at which Uncle Sam reimburses them.

    That includes oncology practice-management firms like American Oncology Resources and Physician Reliance
Network, which earn significant profits on the chemotherapy drugs they administer to cancer patients.Likewise,
respiratory-therapy and infusion firms like American HomePatient, Apria Healthcare, Coram Healthcare, Lincare
Holdings and RoTech Medical, which owe their sensational profit margins, to various degrees, to their drug spreads.

    Then, there are the drug makers themselves, including Abbott, Baxter, Chiron, Gensia and Immunex--all with
wide AW Pspreads on their generic offerings.

     Dr.H.MerrickReese, the CEO of Physician Reliance, says he doubts that HCFA plans to cut reimbursement rates
for cancer drugs, which he says his firm marks up only modestly.
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     More likely, Medicare will go after the inhalation drugs like albuterol, says Dr.Joseph Bailes, who chairs the
clinical practice committee of the American Society of Clinical Oncology.

    ChemoLabs is doing what it can to ensure that the AW Ptricksters start running out of fools.Located near Fort
W orth Airport, Fanning'  s firm will supply chemotherapy drugs for insurers, shipping doses to oncologists as needed,
and for a fraction of the average wholesale price.

   And the most aggressive public insurers, including Medicaid programs in sixstates, are turning their backs on
AW P.

    They now base their drug payments on W AC --the W holesale Acquisition Cost actually paid by medical-care
providers.

     Blue Bookeditor Edelstein warns, however, that this won'
                                                            t end the game."Then the manufacturers will just start
fooling around with that price,"he warns.

    For now, says Fanning, the ChemoLabpharmacist, the bonanza drug is etoposide.Someday, he expects to see a
plaque saying:"This is the house that etoposide built.
                                                     "

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                          AWP: Ain'T What's Paid

    --A sample of drugs whose published Average W holesale Price is wildly above the wholesale price available to
almost any buyer.Some of these AW Ps actually have risen, while real wholesale prices have plummeted.Publishers say
drug makers dictate AW Ps.

                                                       '95    Wholesale % Under
Use                              Maker                  AWP         Price         AWP
Doxorubicin HCL powder, 10 mg injectable
  Chemotherapy                Adria Labs*              $46.00       $13.00         72%
Etoposide 100 mg in 5 ml for injection
  Chemotherapy                Gensia                   141.97         34.00        76
Gentamicin Sulfate, 100 mg in 10 ml injection
  Antibiotic                  Abbott                      6.18         1.26        80
Intravenous Immune Globulin, 10 mg
  Chemotherapy                Baxter                   640.71       266.00         58
Leucovorin Calcium, 350 mg injection
  Chemotherapy                Immunex                  137.94         22.50        84
Methotrexate 250 mg injection
  Chemotherapy                Chiron                    26.88          6.40        76
Vancomycin HCL 5 gm in 100 ml injection
  Antibiotic                  Abbott                   135.99         36.00        74
Vincristine Sulfate 1 mg injection
  Chemotherapy                Eli Lilly                 34.62          6.72        81
8.5% Amino Acid sol., 1000 ml for parenteral nutr.
  TPN                         Abbott                   152.65         10.81        93
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50% Dextrose Sol., 500 ml in glass
  Intravenous Sol              Baxter                    27.03          2.56         91
Lactated Ringer's Injection, 500 ml
  Intravenous Sol              Baxter                    11.16          1.61         86
Normasol 500 ml
  Intravenous Sol              Abbott                    16.86          2.04         88
Potassium Phosphate, 15 ml vial
  Intravenous Sol              Abbott                     5.55          0.48         91

    *Unit of Pharmacia-Upjohn

    Sources:1995Red Book;Florida Infusion;UltraCare

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                                FALSE CLAIMS?

     --Some of these firms make drugs, or bill insurers for drugs, that cost far less than the published Average
W holesale Price that Medicare and other insurers pay on claims.Says one wholesaler:"It may be legal, but it'   s certainly
not ethical.
           "

Company: Abbott Labs
Symbol: ABT
Exchange: NYSE
Recent Price: 43 5/8
Medicare Reimbursement Change Might Affect: Medicare buys $500 million
of Lupron; also $100s-of-millions of nutritionals
Company: American Home Prods
Symbol: AHOM
Exchange: NNM
Recent Price: 45 1/2
Medicare Reimbursement Change Might Affect: Medicare/Medicaid pay for
60% of firm's respiratory and infusion services revenues
Company: American Oncology Resources
Symbol: AORI
Exchange: NNM
Recent Price: 44 1/4
Medicare Reimbursement Change Might Affect: One-third of revenues from
Medicare/Medicaid; chemo drugs a big profit center
Company: Amgen
Symbol: AMGN
Exchange: NNM
Recent Price: 60 1/2
Medicare Reimbursement Change Might Affect: $75 million in Medicare
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payments for Neupogen = 10% of drug`s U.S. sales
Company: Baxter International
Symbol: BAX
Exchange: NYSE
Recent Price: 46 7/8
Medicare Reimbursement Change Might Affect: Government demands
rationale for its published prices on intravenous products
Company: Bristol-Myers Squibb
Symbol: BMY
Exchange: NYSE
Recent Price: 88 3/8
Medicare Reimbursement Change Might Affect: Cancer drugs a mainstay;
Medicare bought about 25% of U.S. sales of Taxol
Company: Chiron
Symbol: CHIR
Exchange: NNM
Recent Price: 97
Medicare Reimbursement Change Might Affect: Cancer drugs approx 5% of
sales
Company: Coram
Symbol: CRH
Exchange: NYSE
Recent Price: 4 1/2
Medicare Reimbursement Change Might Affect: One-third of revenues from
nutritional therapy; 27% of payments from Medicare/Medicaid
Company: Gensia
Symbol: GNSA
Exchange: NNM
Recent Price: 5 3/8
Medicare Reimbursement Change Might Affect: Largest product is generic
etoposide; just got approval for generic doxorubicin
Company: Immunex
Symbol: IMNX
Exchange: NNM
Recent Price: 15 1/2
Medicare Reimbursement Change Might Affect: Cancer collaboration with
American Home Products; leucovorin a $20 million product
Company: Lincare Holdings
Symbol: LNCR
Exchange: NNM
Recent Price: 41 3/4
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Medicare Reimbursement Change Might Affect: 60% of revenues from
Medicare/Medicaid, who are after firm's 85% gross margins
Company: Omnicare
Symbol: OCR
Exchange: NYSE
Recent Price: 56
Medicare Reimbursement Change Might Affect: Nursing home pharmacy gets
50% of sales from Medicaid/Medicare; expanding in infusion business
Company: Pharmacia-UpJohn
Symbol: PNU
Exchange: NYSE
Recent Price: 42 5/8
Medicare Reimbursement Change Might Affect: Cancer drugs approx. 9% of
drug sales
Company: Physician Practice Management
Symbol: PHYN
Exchange: NNM
Recent Price: 49 3/4
Medicare Reimbursement Change Might Affect: 45% of revenues from
Medicare/Medicaid; chemo drugs a big profit center
Company: RoTech
Symbol: ROTC
Exchange: NNM
Recent Price: 19 3/4
Medicare Reimbursement Change Might Affect: 50% of revenues
Medicare/Medicaid; 6% from chemo and nutrition therapy

    Source:Company reports

NOTES:
PUBLISHER:Dow Jones & Company

CORRECTION:

    Corrections & Amplifications

    A table with last week'
                          s "Hooked on Drugs"article mistakenly placed the name American Home Products next to a
description of American HomePatient' s business.Also, albuterol is a beta-blocker.And the name of a federal Health
Care Financing Administration official was misspelled.It is Tom Ault.(Barron'  s June 17, 1996)

LOAD-DATE: December 5, 2004
